8:92-cr-00014-RFR-MDN   Doc # 1230   Filed: 04/04/13     Page 1 of 4 - Page ID # 1209



                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )            MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on the motion of

defendant Christopher Scott for reconsideration under Federal

Rule of Civil Procedure 59(e) (Filing No. 1229) of this Court’s

order and judgment (Filing No. 1228) denying Scott’s motion “for

leave to amend and file a supplemental pleading on his prior 28

U.S.C. 2255 petition” (Filing No. 1226).               This Court has

previously found that Scott’s motion for leave to amend was

properly construed as a motion to file a second, successive

§ 2255 motion.    See Memorandum Opinion, Filing No. 1227.                Having

no certificate from the United States Court of Appeals

authorizing this Court to consider a second, successive motion,

as dictated by 28 U.S.C. § 2255(h), this Court denied Scott’s

motion for leave to amend.

            Scott now moves the Court to reconsider this decision

because he contends that the Court erred in its conclusion that

his motion to amend must be construed as a second, successive

motion.    Defendant claims instead that his 2013 claims “relate
8:92-cr-00014-RFR-MDN   Doc # 1230   Filed: 04/04/13   Page 2 of 4 - Page ID # 1210



back” to his prior 1997 claims and, therefore, that his 2013

claims should be considered by the Court as a timely amendment to

the prior 1997 motion.

            “Postconviction motions for relief must be filed within

one year from the date that the judgment becomes final.”                Dodd v.

United States, 614 F.3d 512, 515 (8th Cir. 2010) (citing 28

U.S.C. § 2255(f)).      “Claims made in an untimely filed motion

under § 2255 may be deemed timely if they relate back to a timely

filed motion as allowed by Federal Rule of Civil Procedure

15(c).”    Dodd, 614 F.3d at 515.

                 Claims made in an amended motion
                 relate back to the original motion
                 when the amendment asserts a claim
                 that arose out of the same
                 “conduct, transaction, or
                 occurrence set out . . . in the
                 original” motion. Fed. R. Civ. P.
                 15(c)(1)(B). To arise out of the
                 same conduct, transaction, or
                 occurrence, the claims must be tied
                 to a common core of operative
                 facts. An amended motion may raise
                 new legal theories only if the new
                 claims relate back to the original
                 motion by arising out of the same
                 set of facts as the original
                 claims.• The facts alleged must be
                 specific enough to put the opposing
                 party on notice of the factual
                 basis for the claim. Thus, it is
                 not enough that both an original
                 motion and an amended motion allege
                 ineffective assistance of counsel
                 during a trial. The allegations of
                 ineffective assistance must be of
                 the same time and type as those in
                 the original motion, such that they


                                     -2-
8:92-cr-00014-RFR-MDN   Doc # 1230   Filed: 04/04/13   Page 3 of 4 - Page ID # 1211



                 arise from the same core set of
                 operative facts.

Dodd, 614 F.3d at 515 (internal citations and quotations

omitted).    If the claims in the untimely filed amended motion do

not “relate back” to the claims in the timely filed prior motion,

then they are barred by the one-year statute of limitations in

28 U.S.C. § 2255(f).

            In conjunction with Scott’s prior 1997 habeas motion,

he identified seven issues for review, all having to do with

either an allegedly faulty indictment or allegedly faulty jury

instructions.1    In Scott’s 2013 motion for leave to amend, he

asserts that his counsel was ineffective because “Scott suffered

a violation of his Sixth Amendment right to counsel during the

plea process that deprived him to the right to make a knowing and

informed choice on whether to accept the Government’s plea offer”

(Filing No. 1226, at 3).

            The Court finds that the issues raised in Scott’s 2013

motion for leave to amend do not arise from the same set of

operative facts as the allegations contained in his 1997 habeas

motion since none of the 1997 allegations related to the plea


      1
       This Court decided that the first six issues raised by
Scott could have and should have been raised on direct appeal and
denied habeas relief on that basis (Filing No. 889). This Court
also denied Scott’s motion as to the seventh issue, alleging
ineffective assistance of counsel for failure to object to
alleged deficiencies in the indictment and the jury instructions
(Id.). The United States Court of Appeals for the Eighth Circuit
affirmed. United States v. Scott, 218 F.3d 835 (8th Cir. 2000).

                                     -3-
8:92-cr-00014-RFR-MDN   Doc # 1230   Filed: 04/04/13   Page 4 of 4 - Page ID # 1212



bargaining process.      Thus, the claims in Scott’s 2013 motion for

leave to amend do not relate back to the claims in his 1997

habeas motion, and the 2013 motion cannot be considered an

amendment to the 1997 habeas motion.          Rather, the 2013 motion is

a second, successive motion.         Lacking jurisdiction under 28

U.S.C. § 2255(h), this Court cannot rule on a second, successive

motion.    See Memorandum Opinion, Filing No. 1227; Williams v.

United States, 705 F.3d 293 (8th Cir. 2013).             A separate order

will be entered in accordance with this memorandum opinion.

            DATED this 4th day of April, 2013.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court




                                      -4-
